Case 2:04-cV-02420-.]DB-cgc Document 23 Filed 06/20/05 Page 1 of 3 Page|D 25

 

Fl!.ED 531
IN THE UNITED STATES DISTRICT COURT - D-C-
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUN 20
WESTERN DIvIsIoN H lU‘ 35
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) ' “' *H. MEMPH¢S'
BANCoRPsoUTH BANK )
)
PLAINTIFF, )
)
v. ) DoCKET No. 04-2420-13 / A n
)
JUSTIN HERTER A/K/A BARRY )
J. HERTER, CAPITOL )
MANAGEMENT, INC., RoBERT )
POWELL, JANET PoWELL, and )
sYLvEsTRE LoERA )
DEFENDANTS. )

 

ORDER GRAN'I`ING PLAINTIFF’S MOTION TO SET ASIDE AND/OR REVISE
SCHEDULING ORDER

 

Upon Motion of the Plaintiff and for good cause shown,

IT IS, HEREBY, ORDERED, ADJUDGED and DECREED that Consent Motion to Enter
Arnended Scheduling Order is hereby granted. Therefore, the Scheduling Order previously entered
in this matter is set aside; the parties are ordered to attend another scheduling conference in this
matter, with the date and time to be set by the Court; the parties are ordered to submit another
proposed scheduling order; and an Amen d Scheduling Order shall be entered in this matter.

ENTER this the § day of _ , 2005.

/
Qsjt>lsralcr CoURT JUD`GE

APPROVED FOR ENTRY:

Thls document entered on the docket sheet in corgliance
wnh ama se and/or rem FacP on f 'O

 

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SPRAGINS, BARNETT, COBB & BUTLER, PLC

By: GFk-l'kv\-N 5 C/_.._

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Attorney for Plaintiff

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(73 l) 424-0461

CERTIFICATE OF SERVICE

I, the undersigned, do hereby certify that a true and exact copy of the foregoing has been
mailed, by U.S. mail, postage prepaid, to the following on this the 8th day of June, 2005:

l\/lr. Kevin Snider

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Mr. J ames Strickland
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Dl

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 2:04-CV-02420 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

